                         THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                WINCHESTER DIVISION

                                                  )
   DIVERSE MEDICAL MANAGEMENT,                    )
   INC. et al.,                                   )
                Plaintiffs,                       )
   v.                                             ) Case No: 4:19-CV-46
                                                  )
   PLATINUM GROUP USA, INC, et al.,               )
                                                  )
                  Defendants.                     )
                                                  )
                                                  )
   PLATINUM GROUP USA, INC, et al.                )
                                                  )
                  Counter-Plaintiffs,             )
   v.                                             )
                                                  )
   DIVERSE MEDICAL MANAGEMENT,                    )
   INC., et al.                                   )
                                                  )
                  Counter-Defendants.             )
                                                  )
                                                  )
   AMERICORE HEALTH; AND GRANT                    )
   WHITE                                          )
                                                  )
                  Counter-Plaintiffs,             )
   v.                                             )
                                                  )
   DIVERSE MEDICAL MANAGEMENT,                    )
   INC.; AND MICHAEL FREY                         )
                                                  )
                  Counter-Defendants.             )


               ANSWER OF AMERICORE HEALTH, LLC AND GRANT WHITE
                         TO FIRST AMENDED COMPLAINT

           Come now, Defendants, Americore Health, LLC (“Americore”) and Grant White

  (“White”) (together “Defendants”), by and through their respective counsel, and hereby file this

  Answer to the First Amended Complaint.


  20547937.1


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                                          INTRODUCTION

         Defendants deny any and all allegations against them in the “Introduction” to the First

  Amended Complaint.

                                             PARTIES

         1.      Diverse Medical Management, Inc. (“DMM”) is a Tennessee corporation organized

  and existing under the laws of Tennessee with its principal place of business in McMinnville,

  Tennessee.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 1 of the First Amended

         Complaint.


         2.      Azzam Medical Services, LLC (“AMS”) is an Alabama limited liability company

  with its principal place of business in Hoover, Alabama.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 2 of the First Amended

         Complaint.


         3.      Platinum Group USA, Inc. (“The Platinum Group”) is a corporation organized

  and existing under the laws of Florida with its principal place of business in Delray Beach,

  Florida. The Platinum Group provides business development and consulting services for

  businesses on an international scale.




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         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 3 of the First Amended

         Complaint.


         4.      Amer Rustom (“Rustom”) is an adult resident of Florida and serves as the CEO and

  President of The Platinum Group. Rustom is a successful entrepreneur and international investor

  and is Platinum Group’s co-founder. Rustom also serves as President, Chief Executive Officer,

  and Chairman of Platinum Petroleum International Limited, an oil company focusing on extraction

  in the Middle East. Rustom claims to have “successfully developed strong ties with many of the

  Middle East and North African leaders and country officials as well as the local and international

  business communities.”


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 4 of the First Amended

         Complaint.


         5.      The Third Friday Total Return Fund, L.P. (“Third Friday Fund”) is a limited

  partnership organized and existing under the laws of Delaware with its principal place of business

  in Delray Beach, Florida. Third Friday Fund is a hedge fund touted as “one of the best performing

  hedge funds on a risk-adjusted basis.”4 Upon information and belief, the total assets of the Third

  Friday Fund exceed $50 million.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 5 of the First Amended

         Complaint.


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         6.      Michael Lewitt (“Lewitt”) is an adult resident of Florida, is a member of Third

  Friday GP, LLC, the General Partner of the Third Friday Fund, and manages the Third Friday

  Fund. Lewitt is a licensed attorney and elite investor with over 30 years of securities industry and

  investment management experience. He has been a frequent contributor to Forbes magazine and

  the New York Times, has appeared on CNBC, and has been quoted by news organizations

  including CNN, the Washington Post, and FoxNews.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 6 of the First Amended

         Complaint.


         7.      Americore Health, LLC (“Americore”) is a limited liability company organized and

  existing under the laws of Delaware with its principal place of business in Lauderdale By the Sea,

  Florida.


         ANSWER:         Defendants admit the allegations contained in paragraph 7 of the First

         Amended Complaint.


         8.      Grant White (“White”) is an adult resident of Florida and is the Founder and CEO

  of Americore. White is a self-described “investment banker and entrepreneur with experience in

  oil, gas, mining and widgets.”11


         ANSWER:         Defendants admit the allegations contained in paragraph 8 of the First

         Amended Complaint.




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          9.      James B. Biden (“Biden”) is an adult resident of Pennsylvania and is a Principal of

  Americore. Biden is an investor and businessman with “40 years of experience dealing with

  principals in business, political, legal and financial circles across the nation and internationally.”12


          ANSWER:         Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 9 of the First Amended

          Complaint.


                                    JURISDICTION AND VENUE

          10.     This Court has jurisdiction over the causes of action set forth in this Complaint

  pursuant to 28 U.S.C. § 1332. There is complete diversity of citizenship between DMM and the

  Defendants and the amount in controversy, exclusive of interests and costs, exceeds the sum of

  $75,000.


          ANSWER:         Defendants admit that the amount in controversy, exclusive of interest

  and costs, exceeds $75,000.00. Defendants lack sufficient knowledge or information to form

  a belief as to the truth of the remaining allegations that there is complete diversity of

  citizenship between DMM and all defendants, and therefore deny the same.



          11.     This Court has personal jurisdiction over the Defendants due to Defendants’

  purposeful availment of the privilege of acting in Tennessee and intentionally causing the

  consequences described below. Defendants proactively communicated with Plaintiffs in

  Tennessee in furtherance of their fraudulent schemes for more than one year. These

  communications were sent to Tennessee, targeted Tennessee residents, and form the heart of



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  DMM’s claims. Over the relevant time period, Defendants profited financially from their ongoing

  fraud, as detailed below.


          ANSWER:         Defendants deny that they engaged in any wrongful conduct of any

          kind or nature whatsoever, whether in or targeted toward Tennessee, or elsewhere.


          12.     Venue is proper pursuant to 28 U.S.C. §§ 1391 because a substantial part of the

  events giving rise to the claims occurred in this judicial district.


          ANSWER:         Defendants deny that venue is proper in this Court under 28 U.S.C. §

          1391.


                                     FACTUAL BACKGROUND

          13.     Plaintiffs are innovative leaders in providing medical and psychiatric care in rural

  America.


          ANSWER:         Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 13 of the First Amended

          Complaint.


          14.     DMM is a husband-and-wife-owned medical management company based in

  McMinnville, Tennessee, and founded in 2014. DMM’s owners live in a rural community and

  witness on a near-daily basis the acute problems rural citizens face seeking treatment for opioid

  addiction, mental health issues, veterans’ issues, and sexual trauma. DMM’s owners formed their

  company, in part, to seek a solution to these at-risk individuals in towns across America similar to

  those found in Warren County, Tennessee.



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         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 14 of the First Amended

         Complaint.


         15.     AMS is a provider of medical services primarily to nursing homes. AMS was

  founded in 2014 in Hoover, Alabama, by Doctor Mohannad Azzam, M.D. (“Dr. Azzam”). Dr.

  Azzam has worked many years in the rural practice of medicine and has seen first-hand the

  problems patients face in these underserved communities.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 15 of the First Amended

         Complaint.



         16.     The rural hospital is at the center of Plaintiffs’ business model and leverages the

  hospital’s scale and capabilities to improve care beyond the walls of the hospital. This includes

  improved outcomes and efficiencies in senior care, veteran services (with a focus on PTSD),

  substance abuse treatment through its unique Intensive Outpatient Program (“IOP”), diabetes care,

  and behavioral and psychiatric care.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 16 of the First Amended

         Complaint.


         17.     DMM’s success and specialization has attracted the attention of numerous investors

  over the years, including that of Defendants.


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         ANSWER:        Defendants deny the allegations contained in paragraph 17 of the

         First Amended Complaint.


         18.     On December 19, 2017, DMM’s President and CEO, Michael Frey, and DMM’s

  General Counsel, Mitchell Cohen, Esq., traveled to Fort Lauderdale, Florida, to meet with

  Americore and White. The purpose of the meeting was to discuss a potential partnership between

  Plaintiffs and Americore. At this meeting, it was decided that Plaintiffs would provide business

  development and management services to rural hospitals that Americore intended to acquire. The

  first two hospitals were Pineville Community Hospital in Pineville, Kentucky, and Ellwood City

  Hospital in Ellwood City, Pennsylvania.


         ANSWER:        Defendants admit that they met with Michael Frey and Mitchell

         Cohen in Fort Lauderdale, Florida to discuss potential partnership. Defendants

         lack sufficient knowledge or information to form a belief as to the truth of the

         allegation of the exact date of such meeting. Defendants deny the remaining

         allegations contained in paragraph 18 of the First Amended Complaint.


         19.     In January 2018, Frey traveled to Pineville to introduce Plaintiffs’ model to

  Pineville Hospital. At this meeting, he met Biden for the first time. Biden handed Frey a business

  card identifying him as a Principal with Americore. (Exhibit 1, Biden Americore Card).


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 19 of the First Amended

         Complaint.




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         20.    Plaintiffs and Americore had a series of meetings in the first half of 2018. During

  these meetings, the conversations between Plaintiffs and Americore transitioned from a

  management company tie to an acquisition by Americore of Plaintiffs’ business. These meetings

  culminated in a May 2018 meeting, with lawyers present, in which the parties discussed

  Americore’s acquisition of DMM and AMS. During the negotiations, Americore repeatedly

  represented that it had the funds necessary to acquire DMM and AMS.


         ANSWER:        Defendants admit that Plaintiffs and Americore had one or more

         meetings during the first half of 2018, and that the parties discussed different

         potential business arrangements, one of which was the potential acquisition of

         Plaintiffs’ business by Americore. Defendants deny making any specific

         representations regarding Americore’s funding, or that the parties ever formulated

         a definitive or enforceable agreement.


         21.    This acquisition was memorialized in a draft Term Sheet, which identified a closing

  date occurring on or before June 28, 2018. The total purchase price was approximately $7 million,

  with payments structured over time.


         ANSWER:        The allegations contained in paragraph 21 of the Complaint refer to a

         writing, which speaks for itself. Defendants deny any allegations or

         characterizations inconsistent with the writing. Defendants deny making any

         specific representations regarding Americore’s funding, or that the parties ever

         formulated a definitive or enforceable agreement.


         22.    Shortly after this meeting, however, DMM grew disillusioned with Americore and

  White in particular. For example, in early July of 2018, Americore missed initial agreed-upon
                                                 9


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  payments for Plaintiffs’ overhead and payroll, which Plaintiff AMS was forced to cover. It became

  apparent that, contrary to its representations, Americore was unable to execute the acquisition. But

  this was only the beginning of Defendants’ fraudulent behavior.


          ANSWER:         Defendants deny the allegations contained in numerical paragraph 22

          of the First Amended Complaint. Defendants further deny making any specific

          representations regarding Americore’s funding, or that the parties ever formulated

          a definitive or enforceable agreement.


          23.     It was not until DMM grew disillusioned with Americore and its leadership that the

  Investor Defendants, who also possessed ownership and financial interests in Americore, entered

  the fray. At the time, Plaintiffs were thrilled to have the full attention of investors as respected and

  sophisticated as Biden, Lewitt, and Rustom. Unfortunately, and unbeknownst to Plaintiffs, the

  Investor Defendants continued the fraudulent scheme, and made numerous additional fraudulent

  promises all with no present intention of keeping them.


          ANSWER:         Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 23 of the First Amended

          Complaint.


          24.     In June 2018, a friend of DMM’s owners called Biden to ascertain Americore’s

  intent to proceed with the proposed acquisition. Biden instructed that Plaintiffs should no longer

  speak with Americore and White, but instead should deal exclusively with the Investor Defendants

  and their respective agents going forward, who would ensure that Plaintiffs’ model would find its

  way into hospitals and thrive. Through subsequent communications to Frey, the Investor


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  Defendants made clear that the investment in Plaintiffs’ businesses would not be through

  Americore, but instead come directly through them.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 24 of the First Amended

         Complaint.


         25.     Beginning in July 2018, the Investor Defendants promised Plaintiffs that a large

  infusion of cash to fuel the acquisition was going to be available through the Platinum Group.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 25 of the First Amended

         Complaint.


         26.     In August 2018, for example, Biden and Lewitt attended a summit in Dallas to

  discuss working with Plaintiffs. At this meeting, it was agreed that there would be a $10 million

  cash infusion dispersed in the following manner: 1) $3.5 million for the purchase of DMM stock

  and loan repayment; 2) $3 million for the acquisition of AMS; and 3) $3.5 million for operational

  capital and repayment of DMM overhead loans.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 26 of the First Amended

         Complaint.


         27.     The $3.5 million for operational capital and repayment of DMM overhead consisted

  of, in small part, a series of loans to DMM by Third Friday Fund, which ultimately totaled



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  $434,000.00 to DMM. These loans later proved to be nothing more than a series of fraudulent

  inducements to drag the process out and allow Defendants to steal Plaintiffs’ business model.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 27 of the First Amended

         Complaint.


         28.     At this Dallas meeting, the Investor Defendants promised Plaintiffs that the deal

  would close on September 25, 2018.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 28 of the First Amended

         Complaint.


         29.     On August 24, 2018, at the airport immediately after the summit, Lewitt sent Frey

  an email that copied Biden and his wife, Sara Biden, describing in detail the Investor

  Defendants’ reasoning for cutting White and Americore out of the deal with Plaintiffs. (Lewitt

  Email of August 24, 2018, Exhibit 2.) In that email, Lewitt said:


                 When I lay out all the facts of what has happened here I don't think
                 there is any reason to wait or that Grant has any defense of any kind
                 - the company has been effectively insolvent since at least May
                 (probably earlier), he asked me make loans without disclosing the
                 MCAs, the company has no functioning accounting system or
                 financial controls, we are losing the confidence of our
                 communities, etc etc. So we need to get him out now and get to
                 work cleaning up the mess he created.

  (Id.) Ominously, Lewitt also described his strategy should White resist:

                 If he doesn't go quietly right away we will do what we have to do
                 and we know how to do that. We should have a draft letter
                 hopefully by end of business tomorrow for everyone to look at.
                                                  12


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                 What we need from Michael is an action plan to take over
                 operations of the hospitals from Grant when we do that and
                 effectively lock him out if we have to fight him. I also need the
                 accounting firm to call me so I can get them set up to do a
                 forensic accounting at the hospitals and holding company. If Grant
                 does decide to fight, my plan will be to come at him very hard
                 out of the box because putting him back on his heels will give us
                 the advantage and we have much greater resources than him and
                 like in any fight the guy who scores the first hard blow will have a
                 huge advantage. Hopefully he will see the wisdom of going gently
                 into the good night especially when we lay out the state of play.

  (Id.)

          ANSWER:       The allegations contained in paragraph 29 of the Complaint refer to a

          writing, which speaks for itself. Defendants deny any allegations or

          characterizations inconsistent with the writing.


          30.    In the weeks leading up to September 25, 2018, the Investor Defendants repeatedly

  promised that Plaintiffs would be celebrating a new venture and would be receiving the substantial

  funding described above. On September 4, 2018, Frey, his wife, and DMM’s general counsel

  dined with Biden and his wife near their home in the Philadelphia, Pennsylvania area, and met

  with them at their home before and after dinner. At this dinner, Biden and his wife, Sara Biden,

  repeatedly stated that funding would be wrapped up for September 25, 2018. These statements

  were untrue in that Biden had no intention of obtaining funding.


          ANSWER:       Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 30 of the First Amended

          Complaint.


          31.    On September 25, 2018, in reliance on the Investor Defendants’ representations,

  Plaintiffs traveled to West Palm Beach, Florida, as planned, and met with the Investor Defendants.

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  The Investor Defendants informed the Plaintiffs that they did not have the money that day, but

  reassured the Plaintiffs that the investment would be finalized at a meeting as early as the next

  week in New York City. The meeting never took place.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 31 of the First Amended

         Complaint.


         32.     In October, November, and December 2018, DMM, its leadership, and investors

  were inundated with phone calls, text messages, and emails in Tennessee providing constant

  updates from the Investor Defendants on the ever-imminent funding. The communications

  contained in these phone calls, text messages, and emails were false in that Defendants had no

  intention of obtaining funding.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 32 of the First Amended

         Complaint.


         33.     On October 9, 2018, Lewitt texted Frey in Tennessee that he had “an update on

  funding” and that “we should have all the documents bank needs by end of the week. Our

  people are working hard to get this done ASAP.” This statement was untrue in that Lewitt had no

  intention of obtaining funding.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 33 of the First Amended

         Complaint.

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         34.     In November, 2018, however, an inadvertently-sent text message raised concern

  for Plaintiffs. Biden accidentally texted Frey in Tennessee on November 5, 2018: “We can wrap

  ( A / C ) into Frey’s entity further diluting the both in the process? After we take control of both.

  Just a thought. We must have complete control, too many moving pieces. Jim.” (Exhibit 3, Biden

  November 5, 2018 Text Message) (emphasis added). After receiving this text message, Frey

  followed up with Biden but never received an explanation.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 34 of the First Amended

         Complaint.


         35.     At the time, Plaintiffs reasonably trusted the Investor Defendants, all of whom

  presented themselves as respected business leaders, with significant experience, large investment

  portfolios, and trustworthy records. Although Biden’s text raised somewhat of a red flag with

  Plaintiffs initially, Biden and the other Investor Defendants continued to reassure Plaintiffs that

  the acquisition would still going to occur in accordance with the previously-discussed terms.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 35 of the First Amended

         Complaint.


         36.     On November 11, 2018, Biden left a voicemail for Dr. Mohannad Azzam, founder

  of AMS and Chief Medical Officer of DMM, pleading for a presentation on Plaintiffs’ diabetes

  care model: “I need that material tonight for my meeting tomorrow.” “I’m going to be with

  [investors],” Biden explained, “and I just wanted to have it with me. So if you can get it to me I’ll

  have that letter for you, that contract for you by Friday at the latest, OK? And uh, the funding,
                                                   15


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  uh, to follow.” (emphasis added). AMS sent the requested information to Biden, but the letter,

  contract, and funding never followed.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 36 of the First Amended

         Complaint.


         37.     On December 12, 2018, Lewitt texted Frey in Tennessee yet again and removed

  any doubt that he spoke for Investor Defendants:


                 We are working 24/7 to get this deal closed ASAP. I apologize for
                 this taking so long. I promise we will get it done and that it will
                 be worth the wait. . . . [T]he future is going to be great and if there
                 is anything I can do please don’t hesitate to call 24/7. I believe in
                 you . . . and am proof [proud] to be working with you and I speak
                 for Amer and Skip and Jim as well.

  (emphasis added).

         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 37 of the First Amended

         Complaint.


         38.     On December 17, 2018, Lewitt sought additional information from Frey in

  Tennessee in order to secure funding from the Qatar Investment Authority: “Need the last info on

  the hospitals so I can knock off the presentation. Doesn’t have to be exact just rough estimates the

  I can get this in front of them asap. Just estimates of what the hospitals approved value is thanks.

  They are waiting for the package.”




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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 38 of the First Amended

         Complaint.


         39.     Later that day, Lewitt confirmed receipt and shed additional light on the quality of

  information he was providing to the foreign investors, sending this communication to Frey in

  Tennessee: “Got it am reading the full article now on internet. Just make up some numbers throw

  darts it doesn’t matter nobody is going to hold you to them they just have to see stuff look a certain

  way it’s a Middle Eastern thing.” (Exhibit 4, Lewitt December 17, 2018 Text Message).


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 39 of the First Amended

         Complaint.


         40.     In short, Defendant Lewitt—who in the past has been registered as a broker-dealer

  with FINRA—was directing Frey to make false statements to potential investors, which, of course,

  he did not (and could not legally) do.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 40 of the First Amended

         Complaint.


         41.     On December 26, 2018, Platinum Group and DMM exchanged a draft Stock

  Purchase Agreement pursuant to which Platinum Group would acquire 60% DMM’s stock for

  $3.5 million. Under the same Stock Purchase Agreement, Platinum Group was set to

  purchase Dr. Azzam’s medical practice for an additional $3.5 million and pay DMM an

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  additional $3 million “for general corporate purposes, including repayment of debt owed to

  The Third Friday Total Return Fund, L.P. and Americore Holdings, LLC.” This transaction

  did not close. Defendants had no intention of ever closing on the transaction and instead used

  the exercise of exchanging drafts to string the Plaintiffs along.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 41of the First Amended

         Complaint. To the extent Plaintiffs allege that Americore and/or White made

         representations of intentions to “[close] on the transaction,” Defendants deny these

         allegations.


         42.     The Investor Defendants’ illusory promises continued into the new year even as

  Plaintiffs grew concerned. On January 8, 2019, Biden texted Frey in Tennessee, claiming he was

  preparing to board a flight to Turkey to secure investment:


                 I feel Very good. I will feel jubilant when it I [sic] closed. Please
                 do not interpret this as anything but complete confidence. It is
                 going to happen. We need documentation which will take a
                 few days. We are all in this together, total transparency. We are
                 on our way. I will call you after our call. We have a plane 2/30
                 hrs. I will try to call before board the plane, if I can’t, I will call the
                 moment we land. Sleep well, it will happen. Jim

     (emphasis added).

         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 42 of the First Amended

         Complaint.


         43.     On January 17, 2019, Rustom, Lewitt, Frey, and Dr. Azzam gathered for a series

  of business meetings in West Palm Beach and Nashville with Mr. Soner Gedik and Mer Vedat
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  Mungan of Dogan Holdings—a Turkish investment group (“Dogan”), that was, according to the

  Investor Defendants, interested in investing in Plaintiffs. During his trip to Nashville, Lewitt

  informed a CEO at a struggling hospital in Manchester, Tennessee, that DMM was about to

  purchase 200 hospitals. This statement was false in that Lewitt knew he had no intention of ever

  providing funding.


         ANSWER:          Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 43 of the First Amended

         Complaint.


         44.     This trip to Nashville was memorialized in a January 17, 2019 agenda signed by

  Rustom and copying “His Excellency Jim Biden” and his wife “Her Excellency Sara Biden.” The

  agenda conspicuously made no mention of DMM or AMS, but only identified Platinum Group.


         ANSWER:          Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 44 of the First Amended

         Complaint.


         45.     On January 23, 2019, Platinum Group, Rustom, and Biden submitted a White Paper

  to Dogan outlining “Platinum Group Diverse Medical Management (PGDMM)’s business model.”

  What the investors were not told, however, was that this white paper was drafted by Plaintiffs and

  sent to Biden, Rustom, and Sara Biden; Platinum Group simply replaced all references to Plaintiffs

  with PGDMM, a non-existent entity. Neither Frey nor Dr. Azzam signed the white paper. Instead,

  it was submitted by Rustom, “His Excellency Jim Biden,” and his wife “Her Excellency Sara

  Biden.” Plaintiffs were not aware that the Investor Defendants had substituted PGDDM’s name

  for Plaintiffs on the White Paper until after the fact.
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           ANSWER:       Defendants lack sufficient knowledge or information to form a belief

           as to the truth of the allegations contained in paragraph 45 of the First Amended

           Complaint.


           46.    On January 23, 2019, after Frey sought greater clarity regarding the status of the

  investment, Lewitt explained in a text message to Frey in Tennessee: “Ok put Feb 15 just to give

  us enough time to move money etc and do all the legal work but we should get it done before

  then.”


           ANSWER:       Defendants lack sufficient knowledge or information to form a belief

           as to the truth of the allegations contained in paragraph 46 of the First Amended

           Complaint.


           47.    On January 31, 2019, Lewitt informed Frey via text message to Tennessee: “Just to

  be clear the Turks approved the investment and we are working on the term sheet.” Lewitt further

  offered that “if any of your investors have questions I am happy to speak to them and I promise I

  will be nice.” This statement was false in that the “Turks” had not approved the investment, and

  Lewitt had no intention of providing funding to Plaintiffs.


           ANSWER:       Defendants lack sufficient knowledge or information to form a belief

           as to the truth of the allegations contained in paragraph 47 of the First Amended

           Complaint.


           48.    On February 4, 2019, Rustom emailed Frey in Tennessee attaching a cash flow

  projection that claimed DMM would, after the promised investment, make $324 million in

  management revenue alone between the investment and the close of fiscal year 2023. (Exhibit

                                                  20


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  5, Rustom February 4, 2019 Email and Attachment.) Rustom knew that these numbers were

  fictional, in that Defendants had no intent to provide an investment.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 48of the First Amended

         Complaint. To the extent Plaintiffs allege that Americore and/or White made

         representations of intentions to provide an investment, Defendants deny these

         allegations.



         49.     The fraud continued into February when Lewitt repeated this sentiment in a text

  message to Frey in Tennessee on February 11, 2019: “Quick update Dogan is good to go. As a

  public company they have some hoops to jump through that they are jumping through but they are

  telling us everything is a go.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 49 of the First Amended

         Complaint. Defendants deny that they engaged in any “fraud.”


         50.     Then again, on February 20, 2019, Lewitt stated to Frey that the Dogan investment

  was “good to go. Dogan has approved the deal and is just doing final stuff needed bc it is a public

  company. I will get final details hopefully today from Amer.” And two hours later: “Quick update.

  [The investor] is good to go.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 50 of the First Amended

         Complaint.
                                                  21


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         51.     The next day, on February 21, 2019, Rustom spoke with Dr. Azzam and Frey

  regarding the forthcoming Turkish investment. Rustom communicated that the investment was

  approved, and only awaited clearance by the International Organization of Securities

  Commissions, which would be completed within the next two weeks.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 51 of the First Amended

         Complaint.


         52.     Lewitt appeared to be playing every angle this entire time, which clearly took its

  toll on Lewitt. On February 27, 2019, Lewitt informed Frey in Tennessee that he was “just trying

  to manage my stress which has hit my digestive system hard.” He continued to explain how he

  was waiting for Americore to close on St. Alexius Hospital in St. Louis and that he needed to “get

  $1.5 mm back from Grant and then I can breathe.” In light of Biden’s warning to Plaintiffs to

  avoid Americore and Grant White, this was concerning but the Defendants’ repeated promises,

  backed up by their backgrounds and impressive biographies allowed Plaintiffs to believe them.

  After Lewitt got his money from White, he explained, he could “then go to Turkey mid-March to

  close your deal and close our big fund raising and things change.”


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 52 of the First Amended

         Complaint.


         53.     Both Plaintiffs were negatively affected while the Investor Defendants

  conducted their fraudulent scheme. Specifically, AMS, which was led by DMM’s Chief

  Medical Director, was left in limbo because it was not being funded or acquired, even after
                                                 22


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  Biden’s November 2018 voicemail and promises. Frey raised Azzam’s concerns to Lewitt,

  who responded to Frey in Tennessee on February 28, 2019, that Frey should “tell [Azzam

  Medical Services] I guarantee payment.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 53 of the First Amended

         Complaint.


         54.      In mid-March of 2019, Defendants promised DMM that they were going to partner

  with Cliff Creek Builders to develop a new state-of-the-art rural health hospital in Paris, Texas,

  and that DMM would be contracted to provide management services for the new hospital.

  Defendants had no intention of developing the Paris hospital, and the opportunity never

  materialized.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 54 of the First Amended

         Complaint.


         55.      The Investor Defendants’ stalling dragged into late March. On March 25, 2019,

  Frey inquired about the status of the still-unfunded venture. Lewitt initially responded in an

  attempt to maintain the status quo, “Nothing has changed.” Perhaps sensing that he needed to keep

  Plaintiffs at the table, Lewitt supplemented his response the very next day in order to further the

  fraud, sending a text to Frey in Tennessee that read: “Actually things have changed. We have

  multiple companies that want to do the deal now!!!”




                                                  23


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 55 of the First Amended

         Complaint.


         56.     By late March to early April 2019, the Investor Defendants’ ongoing fraud had

  become apparent. Specifically, the Investor Defendants’ leadership and agents began

  communicating with Plaintiffs’ current investors and promising the current investors that they

  would be repaid within two weeks. For example, one such call occurred between Biden and

  Tennessee-based investor, Eric Burch, in March of 2019. (Exhibit 6, Burch Affidavit.). During

  this conversation, Biden assured Mr. Burch that the funding for the acquisition of DMM was in

  place, and that the transaction would be completed no later than two weeks from the conversation.

  When the two weeks came to pass, it started to become clear to Plaintiffs and their investors that

  the Investor Defendants had no interest in investing, but instead were executing a fraudulent

  scheme.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 56 of the First Amended

         Complaint.


         57.     Shortly thereafter, DMM’s general counsel called Platinum Group’s outside

  transactional counsel, George Mesires, with representatives of Plaintiff and Defendant on the

  phone, to get to the bottom of the investment status. It became apparent on the call that Mr. Mesires

  was unaware of the promised investments made by his client. This eliminated any remaining doubt

  at DMM about the Investor Defendants’ fraudulent scheme.



                                                   24


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 57 of the First Amended

         Complaint.


         58.     Plaintiffs were not merely waiting for an investment that never came. They were

  taking actions to further their business development in reliance on the Defendants’ fraud. At the

  same time that they were promising certain and imminent capital, Defendants repeatedly directed

  Plaintiffs to acquire various service lines, products, companies, hospitals, and the accompanying

  liabilities (such as payroll). The Investor Defendants explicitly instructed DMM to extend itself

  and grow beyond its core business model with the express promise that the imminent—and

  certain—investment would cover the growth. Again, Defendants’ ultimate goal was to drive

  Plaintiffs’ into insolvency so that Defendants could obtain control.


         ANSWER:         Defendants deny the allegations that they engaged in fraud.

         Defendants deny that they “repeatedly directed Plaintiffs to acquire various service

         lines, products, companies, hospitals, and the accompanying liabilities.” Defendants

         lack sufficient knowledge or information to form a belief as to the truth of the

         remaining allegations contained in paragraph 58 of the First Amended Complaint.



         59.     For example, on December 4, 2018, Lewitt told Frey in Tennessee that the Investor

  Defendants were “moving hard on raising our $$& [sic] from multiple places and they are all over

  us for more Healthcare we are asking them for $160 mm for you my brother so go find some

  hospitals to buy.” (emphasis added).




                                                   25


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 59 of the First Amended

         Complaint.


         60.     In late-December 2018, the Investor Defendants encouraged Plaintiffs to acquire a

  Middle Tennessee-based company called Geriatric Consulting Group (“GCG”) and its sister

  company that handles management issues, Newcare. (See Miller Affidavit, Exhibit 7.)

  Specifically, Biden instructed Frey to make them a cash offer of $3.2 million to be paid out over a

  three-year period. While Frey was reluctant to make the offer, Biden stressed that the acquisition

  was essential in order to attract investment from abroad.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 60 of the First Amended

         Complaint.


         61.     The investment never came, but Frey and DMM were left to assume the liabilities

  due as a result of the acquisition. Approximately four months after the acquisition, GCG’s

  employees rolled into DMM and DMM became responsible for meeting payroll and paying

  overhead. In the immediate aftermath, the acquisition seemed impossible, and GCG even

  overdrew its account nearly $80,000. Over time, however, DMM has been able to incorporate

  GCG and Newcare into Unity Medical Center in Manchester, Tennessee, and the company is able

  to cover its own payroll and overhead, with great difficulty. The stress and harm done to

  Plaintiffsand their reputations while attempting to right the ship, however, was significant.

  Additionally, the acquisition price set by Biden remains unpaid, an obligation that Plaintiffs still

  owe.

                                                   26


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 61 of the First Amended

         Complaint.


         62.     Throughout this time, Plaintiffs continually communicated with the Investor

  Defendants for reassurances that the promised investment capital was imminent, as Plaintiffs took

  on further obligations as directed by Defendants. For example, on February 13, 2019 Frey

  explained to Lewitt that “[w]e have hundreds of contracted homes and four hospitals. But we have

  to have the operating capital to bring on the help.”


         ANSWER:         Defendants deny that they directed Plaintiffs to take on any

         obligations. Defendants lack sufficient knowledge or information to form a belief as

         to the truth of the remaining allegations contained in paragraph 62 of the First

         Amended Complaint.


         63.     On March 12, 2019, Frey spoke with GCG who expressed their displeasure with

  the situation. Frey immediately relayed the conversation to Biden, and told Biden that DMM faced

  potential problems with Medicare and GCG if DMM were to have obtained GCG’s employees

  without the capability to cover the expanded payroll. Biden told Frey not to worry because funding

  was imminent. This was false, and Biden knew it was false.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 63 of the First Amended

         Complaint.




                                                   27


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         64.    Shortly after the call, Frey sent a text message to Lewitt bemoaning how bad a

  day he was having. Lewitt responded via a text message to Frey in Tennessee that stated “Jim

  told me. Don’t worry every time someone threatens to sue you you’re with us now nobody is

  gonna touch you.” (Exhibit 8, Lewitt text of March 12, 2019.) It was Frey’s understanding that

  Lewitt was implying that DMM was “protected” because of Jim Biden’s connections.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 64 of the First Amended

         Complaint.


         65.    After the Investor Defendants made their first fraudulent misrepresentations, and

  as they continued to make further fraudulent misrepresentations, Third Friday Fund was also

  entering into Unsecured Loan Agreements with DMM. These loans were made to cover working

  capital and payroll for DMM until the Investor Defendants made the repeatedly promised

  investment. These loan agreements were procured through fraud.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 65 of the First Amended

         Complaint.


         66.    In total, ten (10) loans were made to DMM by Third Friday Fund from July 30,

  2018, to December 20, 2018, all explicitly premised on Defendants’ fraudulent promises that part

  of the investment in DMM would be used to repay these loans in full.




                                                 28


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         ANSWER:        Defendants deny having many “fraudulent promises.” Defendants

         lack sufficient knowledge or information to form a belief as to the truth of the

         remaining allegations contained in paragraph 64 of the First Amended Complaint.


         67.    Of this series of loans, Third Friday wired $125,000 directly to Integrate Oral

  Health Care, $37,000 directly to Preventative Diagnostic Services, and the balance to DMM.

  Lewitt instructed DMM to sign loan agreements including the payments made to Integrate Oral

  Health Care and Preventative Diagnostic Services because (1) these companies would be

  subsidiaries of DMM once the promised funding arrived; (2) the repayment of the debt would

  come immediately out of the $100 million plus imminent investment; and (3) the investors in his

  fund required the paperwork.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 67 of the First Amended

         Complaint.


         68.    As explained in Paragraph 39, infra, a draft Stock Purchase Agreement dated

  December 26, 2018 was drafted between Platinum Global Healthcare Partners, LLC and DMM

  under which Platinum Global Healthcare Partners, LLC would pay DMM $3 million “for general

  corporate purposes, including repayment of debt owed to The Third Friday Total Return Fund,

  and Americore Holdings, LLC.”


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 68 of the First Amended

         Complaint.


                                                29


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         69.     On January 14, 2019, after the final loan had been made, Lewitt texted with Frey

  in Tennessee about how the loans would be repaid by the forthcoming investment and Stock

  Purchase Agreement. As the draft Stock Purchase Agreement was exchanged between the parties,

  Lewitt explained that he had to speak with his attorney regarding some “small nits” and asked Frey

  “were you contemplating the shareholders agreement addressing the $3 mm going into the

  company for General Corp purposes and debt payback.” (emphasis added).


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 69 of the First Amended

         Complaint.


         70.     But the investment never came, the newly acquired companies’ payrolls came due,

  and Plaintiffs were left on the hook for significant loan obligations procured by Third Friday Fund

  and Defendants’ fraud.


         ANSWER:        Defendants deny that they engaged in any fraud. Defendants lack

         sufficient knowledge or information to form a belief as to the truth of the remaining

         allegations contained in paragraph 70 of the First Amended Complaint.


         71.     In fact, Third Friday Fund and Lewitt threatened to sue DMM despite their

  fraudulent behavior—forcing this lawsuit in the process. On April 25, 2019, Lewitt, on behalf of

  the Third Friday Total Return Fund, sent a letter providing notice that all of the loans and

  obligations were “immediately due and payable.”




                                                  30


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          ANSWER:        Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 71 of the First Amended

          Complaint.


          72.     Strangely, this correspondence copied various attorneys at Faegre Baker Daniels,

  an international law firm, but was not actually sent by the attorneys.


          ANSWER:        Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 72 of the First Amended

          Complaint.


          73.     Regardless, it was clear that Lewitt believed he could bully DMM in complete

  disregard of his fraudulent behavior. This brazen behavior left Plaintiffs with no choice but to

  bring this lawsuit.


          ANSWER:        Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 73 of the First Amended

          Complaint.


          74.     Lewitt’s bullying went beyond the Third Friday Fund loan agreements. Whenever

  legal formalities and litigation were pressed upon him, he lashed out with threats and invective.


          ANSWER:        Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 73 of the First Amended

          Complaint.




                                                   31


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         75.     For example, in November 2018, the parties were working to hammer out the terms

  of their partnership and acquisition. Along those lines, DMM had outside transactional counsel in

  Tennessee create a Convertible Secured Promissory Note reflecting the terms and conditions

  agreed upon by all parties in the months leading up to its creation.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 75 of the First Amended

         Complaint.


         76.     But the formal Convertible Secured Promissory Note, drawn up by sophisticated

  outside counsel with significant experience in healthcare lending, clearly spooked Lewitt and the

  Investor Defendants. In response, Lewitt (not his own outside counsel) shared a Stock Purchase

  Agreement that was inconsistent with the parties’ negotiations to that point.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 76 of the First Amended

         Complaint.


         77.     Outside counsel for DMM explained that “Your skeletal proposal set forth in the

  Stock Purchase Agreement does not reflect, in any way, the arrangement discussed at great length

  and agreed upon by the parties.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

  as to the truth of the allegations contained in paragraph 77 of the First Amended

  Complaint.




                                                   32


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         78.      Perhaps sensing Lewitt’s true character and fraudulent scheme, DMM’s outside

  transactional counsel laid bare the Investor Defendants’ fraudulent scheme:


               [O]n at least five separate occasions, Diverse has received assurances from
               you and Mr. Biden that edits to the proposed agreement were being
               completed and funding was imminent. So far, every funding date
               provided to Diverse was missed. Following your receipt of the Note,
               Diverse was reassured on numerous occasions that small changes would
               be made and a slightly revised version of the Note would be forthcoming.
               Diverse never received your promised edits to the Note. Rather, you
               provided to me a document that is a complete deviation from the agreed
               upon arrangement. Further, the content of the Stock Purchase Agreement
               you proposed gives me great pause as it is deficient in a number of
               ways and lacks numerous terms and conditions that we would expect to
               see in an agreement for a transaction of this size. In addition, a Stock
               Purchase Agreement would typically be accompanied by several other
               transaction documents, for example, Bylaws, Shareholder Agreement,
               and Employment Agreements none of which were provided or
               mentioned. These deficiencies raise questions in my mind regarding the
               sincerity of the proposal.

         ANSWER:          Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 78 of the First Amended

         Complaint.


         79.      DMM’s outside counsel further, and presciently, defined the early contours of the

  Investor Defendants fraud by explaining that DMM had been “diligently negotiating with potential

  customers in anticipation of the imminent funding that has been promised.”


         ANSWER:          Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 79 of the First Amended

         Complaint.




                                                   33


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         80.     Outside counsel closed by explaining that “all future communications regarding

  this matter should be directed to me.” She further stated that if Lewitt was represented by counsel

  she would to do the same.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 80 of the First Amended

         Complaint.


         81.     Lewitt’s response was unequivocal. He did not deny that promises were made

  related to investment or that promises were made that caused DMM to negotiate with customers.

  In fact, just the opposite. Lewitt contested the insinuation that the promises were illusory. Lewitt

  emailed both outside counsel and Frey in Tennessee (despite being told not to communicate with

  Frey directly), stating that he had “to add that the allegations regarding not providing funding etc

  are false and we do not appreciate them.” Lewitt further lashed out at counsel that sensed his long

  con: “I know you are putting on a show for your client but this is a friendly deal and if you want it

  to continue to be a friendly deal you need to adopt the proper tone and drop the nonsense.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 81 of the First Amended

         Complaint.


         82.     The commencement of this current litigation revealed, once again, Lewitt’s anger

  when confronted with relatively standard litigation procedure, but in a process where his and the

  Investor Defendants’ fraud can be brought into the light.




                                                   34


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 82 of the First Amended

         Complaint.


         83.     On June 28, 2019, Plaintiffs’ counsel served litigation hold notices on each of the

  Defendants.


         ANSWER:         Defendants deny the allegations contained in paragraph 83 of the

         First Amended Complaint.


         84.     The service of litigation holds is standard practice when there is a potential for

  litigation. The American Bar Association includes templates on its website. Litigation holds and

  the accompanying preservation are especially important in cases, such as this one, where

  documents and communications are central to the alleged facts and are susceptible to both

  automatic and manual deletion.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 84 of the First Amended

         Complaint.


         85.     Lewitt did not receive Plaintiffs’ litigation hold notices well. At 2:58 PM on June

  28, 2019—six minutes after receiving Plaintiffs’ litigation hold notice—Lewitt responded to the

  email: “We will [be] suing your clients next week both corporately and personally in view of your

  slanderous [sic] correspondence.” Lewitt, an attorney, inappropriately added Plaintiffs to this

  email. The original service of the litigation hold notices only included Plaintiffs’ counsel.




                                                   35


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         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 85 of the First Amended

         Complaint.


         86.     Twelve minutes after that, Lewitt (a member of the bar) decided to threaten Dr.

  Azzam and Frey—and their wives—personally via text, stating:


                 Since you are reaching out to me you should know that my fund is filing suit against

                 your companies next week for failure to repay the loans I made to fund your payroll.

                 Your lawyer’s letter is defamatory and as a result of that letter I am now instructing

                 my lawyers to sue each of you and your spouses individually as well. If you think

                 cage fighting is tough wait until you get in the legal ring with me. You are picking

                 a wrong fight with that [sic] wrong guy.



     (Lewitt text of June 28, 2019, Exhibit 9.) Neither Frey nor Dr. Azzam responded to this
     threat.

         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 86 of the First Amended

         Complaint.


         87.     Unaware of this text message and in an attempt to defuse the situation (and with his

  clients now copied on the email), Plaintiffs’ counsel responded to Lewitt’s 2:58 PM email, stating

  simply: “I look forward to working with you.”




                                                   36


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 87 of the First Amended

         Complaint.


         88.     Unfortunately, Lewitt was not done protesting this standard litigation hold and

  continued to threaten Plaintiffs personally. He sent yet another email, warning both Plaintiffs and

  counsel to “Be careful what you wish for. You won’t be working with me. You and your clients

  will have the worst experience of their lives.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 88 of the First Amended

         Complaint.


         89.     Unprompted, and without any factual basis, Lewitt sent yet another email only two

  minutes later and copied his transactional attorney, George Mesires, based in Chicago: “I am

  instructing my attorney’s [sic] to explore criminal charges as well against Diverse and the Frey’s

  [sic] and Azzam.”


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 89 of the First Amended

         Complaint.


         90.     On Tuesday, July 2, 2019, Lewitt emailed Plaintiffs and their counsel unprompted

  once again. Lewitt’s email was nothing more than a thinly-veiled threat masquerading as an

  attempt to comply with the litigation hold notice:


                 In reviewing and preserving documents as you requested, I came
                                                    37


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                 across an agreement dated 8/31/18 whereby Diverse and my
                 fund purchased $125,000 of Stanous Flouride Rinse from
                 Integrate Oral Care, LLC. Can your client tell me what happened
                 to the product and my fund’s money? Diverse was supposed to sell
                 these goods and share 50% of the profits with my fund.

         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 90 of the First Amended

         Complaint.


         91.     Counsel for Plaintiffs politely requested that Lewitt “cease communications with

  my clients, as they are represented by counsel” and offered to communicate directly with Lewitt’s

  outside counsel as well.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 91 of the First Amended

         Complaint.


         92.     Lewitt snapped back: “Just answer the question and stop the bullshit. I am an

  attorney and I am communicating with you. If your client can’t handle dealing with this he

  shouldn’t have stolen money from my fund.” Plaintiffs were, once again, included on this email.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 92 of the First Amended

         Complaint.


         93.     While the Defendants were making their series of fraudulent promises, Plaintiffs

  were implementing the model in rural hospitals and communities in reliance on these promises.




                                                 38


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  What’s more, the Defendants were learning more and more about Plaintiffs’ business model and

  what made it so successful.


         ANSWER:         Defendants deny the allegations contained in paragraph 93 of the

         First Amended Complaint.


         94.     Plaintiffs’ were also taking on additional responsibility and service lines at this time

  through the planned and actual acquisition of complementary businesses and entities. DMM was

  doing so not only based on the Defendants’ promises of funding, but at their specific direction and

  encouragement, as illustrated above. This has resulted in Plaintiffs assuming significant

  financial obligations, primarily in the shape of numerous medical providers needing to be paid.

  But without the promised investment, Plaintiffs can only make payroll for a very limited time.


         ANSWER:         Defendants deny that they made any promises of funding. Defendants

         lack sufficient knowledge or information to form a belief as to the truth of the

         remaining allegations contained in paragraph 94 of the First Amended Complaint.


         95.     Finally, the Defendants’ fraud and inability to invest thwarted potential business

  deals and future business opportunities for Plaintiffs and directly caused other entities that were

  scheduled to roll into DMM and Azzam Medical Services to go insolvent.


         ANSWER:         Defendants deny the allegations against them contained in paragraph

         95 of the First Amended Complaint.


                                            CLAIMS FOR
                                              RELIEF

                                       Count I – Common Law
                                         Fraud (Against All
                                                   39


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                                               Defendants)

          96.     Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


          ANSWER: Defendants incorporate the Answers set forth in the foregoing

          paragraphs by reference.


          97.     Defendants intentionally misrepresented multiple material facts and produced false

  impressions on the part of Plaintiffs in order to mislead them and obtain an undue advantage over

  them in the marketplace.


          ANSWER: Defendants deny the allegations contained in paragraph 97 of the First

          Amended Complaint.


          98.     Defendants made the repeated representations, including but not limited to their

  repeated promises that funding was certain and nearly secured and that Plaintiffs should acquire

  complimentary businesses on promises of future reimbursement, with knowledge of their falsity

  and with a fraudulent intent.


          ANSWER:         Defendants deny the allegations contained in paragraph 98 of the

          First Amended Complaint.


          99.     Defendants’ representations, outlined above, were made with respect to material

  and existing facts related to Plaintiffs’ business.


          ANSWER:         Defendants deny the allegations contained in paragraph 99 of the

          First Amended Complaint.


                                                    40


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         100.    Plaintiffs reasonably relied upon those repeated misrepresentations by both

  conducting its business in accord with these repeated misrepresentations and forgoing other

  funding opportunities for more than a year.


         ANSWER:         Defendants deny the allegations contained in paragraph 100 of the

         First Amended Complaint.


         101.    Because Defendants’ conduct was intentional, fraudulent, malicious, and/or

  reckless, Plaintiffs are entitled to punitive damages.


         ANSWER:         Defendants deny the allegations contained in paragraph 101 of the

         First Amended Complaint.


                                    Count II – Promissory Fraud
                                      (Against All Defendants)

         102.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:         Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.


         103.    Defendants intentionally and repeatedly misrepresented material facts, while

  producing false impressions on the part of Plaintiffs, in to order mislead Plaintiffs and obtain an

  undue advantage over it in the marketplace.


         ANSWER:         Defendants deny the allegations contained in paragraph 103 of the

         First Amended Complaint.



                                                   41


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         104.    Repeated representations, including but not limited to Defendants’ repeated

  promises that an acquisition was imminent, investment funding was nearly secured, and that

  Plaintiffs should acquire complimentary business lines on promises of future reimbursement, were

  made by Defendants with contemporaneous knowledge of their falsity and with a fraudulent intent.


         ANSWER:         Defendants deny the allegations contained in paragraph 104 of the

         First Amended Complaint.


         105.    Plaintiffs reasonably relied upon those repeated misrepresentations by both

  conducting its business in accord with these repeated misrepresentations and forgoing other

  funding opportunities for more than a year.


         ANSWER:         Defendants deny the allegations contained in paragraph 105 of the

         First Amended Complaint.


         106.    Defendants repeated statements embodied promises of future action despite having

  no present intention to carry out the promise.


         ANSWER:         Defendants deny the allegations contained in paragraph 106 of the

         First Amended Complaint.


         107.    Because Defendants’ conduct was intentional, fraudulent, malicious, and/or

  reckless, Plaintiffs are entitled to punitive damages.


         ANSWER:         Defendants deny the allegations contained in paragraph 107 of the

         First Amended Complaint.




                                                   42


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                               Count III – Fraudulent Inducement
                             (Against Third Friday Fund and Lewitt)

         108.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:        Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.


         109.    DMM entered into ten (10) unsecured loan agreements with Third Friday Fund,

  dating from July 30, 2018 to December 20, 2018.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 109 of the First Amended

         Complaint.


         110.    As outlined above, Third Friday Fund and Lewitt made numerous false statements

  material to the loan agreements including, but not limited to, the repeated promises that the loans

  would be repaid with any forthcoming investment.


         ANSWER:        Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 110 of the First Amended

         Complaint.


         111.    Third Friday Fund and Lewitt knew that these statements were false or, at a

  minimum, made them with an utter disregard for the truth of these statements.




                                                  43


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         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 111 of the First Amended

         Complaint.


         112.    Third Friday Fund and Lewitt also made these statements with the intent of

  inducing reliance on the statement by saddling DMM with debt while simultaneously furthering

  the fraudulent scheme carried out by the Defendants. Indeed, DMM did reasonable rely on these

  promises that the loan agreements would be repaid with investment funds.


         ANSWER:         Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 112 of the First Amended

         Complaint.


         113.    DMM has suffered an injury as a result of its reliance on Third Friday Fund and

  Lewitt’s fraudulent promises in the amount of almost $600,000 in principal loaned to DMM to

  cover operations and entities that Plaintiffs were encouraged to acquire by Defendants and on the

  promise that investment would cancel out this debt.


          ANSWER: Defendants lack sufficient knowledge or information to form a belief

          as to the truth of the allegations contained in paragraph 113 of the First Amended

          Complaint.



         114.    Because Defendants’ conduct was intentional, fraudulent, malicious, and/or

  reckless, Plaintiffs are entitled to punitive damages.




                                                   44


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          ANSWER: Defendants deny the allegations against them contained in paragraph

          114 of the First Amended Complaint.


                               Count IV - Declaratory Judgment
                                 (Against Third Friday Fund)

         115.   Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:       Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.


         116.   DMM entered into ten (10) unsecured loan agreements with Third Friday Fund,

  dating from July 30, 2018 to December 20, 2018.


         ANSWER:       Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 116 of the First Amended

         Complaint.



         117.   DMM entered into these agreements in reliance on the Investor Defendants’

  repeated promises that investment was imminent and that these loans were intended to maintain

  DMM’s status quo until said investment was finalized.


         ANSWER:       Defendants lack sufficient knowledge or information to form a belief

         as to the truth of the allegations contained in paragraph 117 of the First Amended

         Complaint.




                                                45


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          118.    As a result of the ongoing fraud outlined above, DMM seeks a declaration under

  Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201, that the unsecured loan agreements are

  voidable because they were procured fraudulently.


           ANSWER: Defendants lack sufficient knowledge or information to form a belief

           as to the truth of the allegations contained in paragraph 118 of the First Amended

           Complaint.


                                       Count V – Civil Conspiracy
                                        (Against All Defendants)

          119.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


          ANSWER:         Defendants incorporate the Answers set forth in the foregoing

          paragraphs by reference.


          120.    Defendants, and each of them, had a common design to steal Plaintiffs’ business

  model and/or drive Plaintiffs into insolvency.


          ANSWER:         Defendants deny the allegations contained in paragraph 120 of the

          First Amended Complaint.


          121.    Defendants acted in concert to steal Plaintiffs’ business model, which is an unlawful

  purpose. Specifically, Defendants stole Plaintiffs’ business model and implemented the model at

  Ellwood City Medical Center, in Ellwood City, Pennsylvania and, upon information and belief,

  additional rural healthcare facilities.




                                                   46


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         ANSWER:         Defendants deny the allegations contained in paragraph 121 of the

         First Amended Complaint.


         122.     Defendants’ fraudulent promises to DMM were unlawful means.


         ANSWER:         Defendants deny the allegations contained in paragraph 122 of the

         First Amended Complaint.


         123.     Plaintiffs were damaged as a result of Defendants’ civil conspiracy, in an amount

  to be determined at trial.


         ANSWER:         Defendants deny the allegations contained in paragraph 123 of the

         First Amended Complaint.


         124.     Because Defendants’ conduct was intentional, fraudulent, malicious, and/or

  reckless, Plaintiffs are entitled to punitive damages.


         ANSWER:         Defendants deny the allegations contained in paragraph 124 of the

         First Amended Complaint.


                Count VI – Tortious Interference with Business Relationships
                                (Against All Defendants)

         125.     Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:         Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.




                                                   47


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         126.      Plaintiffs had existing business relationship with specific third parties, including

  the hospitals and hospital systems they were considering acquiring.


         ANSWER:            Defendants deny the allegations contained in paragraph 126 of the

         First Amended Complaint.


         127.      Plaintiffs had potential business relationships with other rural healthcare providers

  across the United States.


         ANSWER:            Defendants deny the allegations contained in paragraph 127 of the

         First Amended Complaint.


         128.      Defendants’ knew of Plaintiffs’ existing and potential business relationships.


         ANSWER:            Defendants deny the allegations contained in paragraph 128 of the

         First Amended Complaint.


         129.      Defendants intended to cause the termination or otherwise interfere of Plaintiffs’

  business relationships.


         ANSWER:            Defendants deny the allegations contained in paragraph 129 of the

         First Amended Complaint.



         130.      Defendants used improper means, including making false promises to Plaintiffs and

  other misrepresentations regarding (later-discovered, nonexistent) impending funding for their

  business plan.




                                                    48


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         ANSWER:         Defendants deny the allegations contained in paragraph 130 of the

         First Amended Complaint.


         131.    Defendants had an improper motive; specifically, to drive Plaintiffs into insolvency

  and to misappropriate Plaintiffs’ business model.


         ANSWER:         Defendants deny the allegations contained in paragraph 131 of the

         First Amended Complaint.


         132.    Plaintiffs suffered damages in an amount to be determined at trial resulting from

  the Defendants’ tortious interference with its business relationships.


         ANSWER:         Defendants deny the allegations contained in paragraph 132 of the

         First Amended Complaint.


         133.    Because Defendants’ conduct was intentional, fraudulent, malicious, and/or

  reckless, Plaintiffs are entitled to punitive damages.


         ANSWER:         Defendants deny the allegations contained in paragraph 133 of the

         First Amended Complaint.


                           Count VII – Promissory Estoppel/Detrimental
                                Reliance (Against All Defendants)

         134.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:         Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.


                                                   49


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         135.    As laid out above, Defendants made many different promises to Plaintiffs,

  including but not limited to the promises to fund Plaintiffs’ innovative healthcare delivery model.


         ANSWER:         Defendants deny the allegations contained in paragraph 135 of the

         First Amended Complaint.


         136.    Defendants’ promises regarding providing funding were clear, specific, and

  unambiguous.


         ANSWER:         Defendants deny the allegations contained in paragraph 136 of the

         First Amended Complaint.


         137.    Defendants should have reasonably expected their promises to induce action and/or

  forbearance on the part of Plaintiffs.


         ANSWER:         Defendants deny the allegations contained in paragraph 137 of the

         First Amended Complaint.


         138.    Plaintiffs reasonably relied upon the promises of Defendants to their detriment.


         ANSWER:         Defendants deny the allegations contained in paragraph 138 of the

         First Amended Complaint.


         139.    Plaintiffs suffered damages in an amount to be determined at trial as a result of their

  reasonable reliance on Defendants’ unfulfilled promises.


         ANSWER:         Defendants deny the allegations contained in paragraph 139 of the

         First Amended Complaint.


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                               Count VIII – Negligent Misrepresentation
                                      (Against All Defendants)

         140.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs by

  reference.


         ANSWER:         Defendants incorporate the Answers set forth in the foregoing

         paragraphs by reference.


         141.    Defendants supplied information regarding their intent to provide funding and the

  assurance of definite and imminent funding to Plaintiffs.


         ANSWER:         Defendants deny the allegations contained in paragraph 141 of the

         First Amended Complaint.


         142.    The information that Defendants supplied to Plaintiffs was false.


         ANSWER:         Defendants deny the allegations contained in paragraph 142 of the

         First Amended Complaint.


         143.    Defendants did not exercise reasonable care in obtaining or communicating the

  information to Plaintiffs.


         ANSWER:         Defendants deny the allegations contained in paragraph 143 of the

         First Amended Complaint.


         144.    Plaintiffs justifiably relied on the information that Defendants provided to them.


         ANSWER:         Defendants deny the allegations contained in paragraph 144 of the

         First Amended Complaint.

                                                  51


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         145.    Plaintiffs suffered damages in an amount to be determined at trial as a result of their

  justifiable reliance on Defendants’ false representations.


         ANSWER:         Defendants deny the allegations contained in paragraph 145 of the

         First Amended Complaint.


                                                 DEFENSES


         1. The Amended Complaint fails to state a claim upon which relief can be granted.

         2. Plaintiffs’ claims of Fraud are not pleaded with sufficient particularity.

         3. Plaintiffs’ claims are barred, in whole or in part, by the applicable statute of

             limitations.

         4. Plaintiffs’ damages, if any, were caused by the acts and omissions persons other than

             Americore and White.

         5. Plaintiff is not entitled to punitive damages under applicable law.

         Defendants expressly reserve the right to amend their Answer to add, remove, or

  otherwise modify their defenses.




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           COUNTERCLAIM OF AMERICORE HEALTH, LLC AND GRANT WHITE

           Come now, Defendants and Counter-Plaintiffs, Americore Health, LLC (“Americore”)

  and Grant White (“White”) (together “Americore”), by and through their respective counsel, and

  hereby allege for their Counterclaim:

           1.     Diverse Medical Management, Inc., by and through its Principal, Michael Frey

  (“Frey”) (together “DMM”), requested a loan from Americore in the first half of 2018.

           2.     Americore agreed to loan DMM $150,000.00, on the condition that the loan be

  repaid in full, with interest.

           3.     DMM agreed that, if Americore loaned it $150,000.00, DMM would repay

  Americore in full.

           4.     Americore met its obligations under the agreement and, in three separate

  installments in May 2018, June 2018 and July 2018, Americore transmitted a total of

  $150,000.00 to DMM or Frey. Americore met all of its obligations under the agreement with

  DMM.

           5.     Americore has demanded that DMM repay the $150,000.00 loan to Americore in

  full.

           6.     DMM has failed to repay the loan to Americore as agreed to by the parties.

           7.     Since receiving the loan, DMM has acknowledged DMM’s obligations to repay

  the loan to Americore in written communications, and yet has failed to repay the loan.

           8.     As a result of DMM’s failure to meet its obligations, Americore has been

  damaged in an amount of at least $150,000.00 plus interest, and other amounts to be proven at

  trial.




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    COUNT I - (AGAINST BOTH DEFENDANTS) BREACH OF CONTRACT (EXPRESS
                             AND/OR IMPLIED)

            9.    Americore incorporates the allegations set forth in the foregoing paragraphs by

  reference.

            10.   Americore provided DMM with $150,000.00 on the condition that DMM repay

  the money, and, as a result, the parties formed a contract.

            11.   Americore met its obligations under the contract.

            12.   DMM has failed to repay the loan, per the Parties’ agreement, thereby breaching

  the contract.

            13.   Americore is entitled to recover its damages as a result of DMM’s breach of the

  contract in an amount of at least $150,000.00 plus interest, and other amounts to be proven at

  trial..

            COUNT II – (AGAINST BOTH DEFENDANTS) UNJUST ENRICHMENT

            14.   Americore incorporates the allegations set forth in the foregoing paragraphs by

  reference.

            15.   Americore provided DMM with $150,000.00 with the reasonable expectation that

  the money would be repaid with interest, per the representations of DMM.

            16.   DMM accepted the $150,000.00 from Americore, and has not repaid the money

  per the Parties’ agreement.

            17.   As a result of DMM’s conduct, DMM and Frey have been unjustly enriched at

  Americore’s expense in an amount of at least $150,000.00 and other amounts to be proven at

  trial.

            18.   Equity and good conscience require restitution of the value of the loan to

  Americore, and cannot permit DMM and Frey to retain the value that they received.

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                                        PRAYER FOR RELIEF

         Wherefore, Defendants and Counterclaim Plaintiffs Americore Health, LLC, and Grant

  White respectfully request that the Court grant relief as follows:

         1. Award Americore damages in an amount of at least $150,000.00, plus interest, and

             other amounts to be proven at trial, including pre- and post-trial interest and costs, for

             its Counterclaim;

         2. Dismissal, with prejudice, of all claims asserted against Americore and White;

         3. That this Court order Diverse Medical Management, Inc. and Azzam Medical

             Services, LLC to indemnify and hold harmless Americore and White from any and all

             liability incurred in connection with this litigation;

         4. That Americore and White be awarded their reasonable attorneys’ fees, costs, and

             other expenses incurred in defending against Diverse Medical Management, Inc. and

             Azzam Medical Services, LLC’s Complaint; and

         5. That Americore and White be awarded such other and further relief as this Court may

             deem just and equitable.

                                                 Respectfully submitted,


                                                 /s/Aaron W. Marcus
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                                                 Aaron W. Marcus
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                                                 COUNSEL FOR DEFENDANTS AMERICORE
                                                 HEALTH, LLC AND GRANT WHITE

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                         CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing was served on the 8th day
  of November 2019 on the following via Court’s CM/ECF system:

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                                               /s/ Aaron W. Marcus
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                                               HEALTH, LLC AND GRANT WHITE


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